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                       UNITED STATES COURT OF APPEALS

                              FOR THE TENTH CIRCUIT
                          _________________________________

  TODD LOPEZ, as personal representative
  of the wrongful death estate of Clara Mae
  Cook, Don Begay, Raymond Gabehart,
  Eva Hunt, Gladys Pioche, Clara Mae Cook,
  and Nellie Harwood,
                                                Nos. 23-2038, 23-2039, 23-2040, 23-2041,
        Plaintiff - Appellee,                         23-2043, 23-2044 & 23-2045
                                                 (D.C. Nos. 1:22-CV-00825-KWR-JMR;
  v.                                              1:22-CV-00822-KWP-JMR; 1:22-CV-
                                                00826-KWR-JMR; 1:22-CV-00831-KWR-
  CANTEX HEALTH CARE CENTERS II,                 JMR; 1:22-CV-00824-KWR-JMR; 1:22-
  LLC, et al.,                                   CV-00834-KWR-JMR; 1:22-CV-00827-
                                                              KWR-JMR)
        Defendants - Appellants.                               (D. N.M.)

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  DENNIS MURPHY, as personal
  representative of the wrongful death estate
  of Joe A. James,

        Plaintiff - Appellee,

  v.                                                           No. 23-2042
                                                  (D.C. No. 1:22-CV-00832-KWR-JMR)
  CANTEX HEALTH CARE CENTERS II,                                (D. N.M.)
  LLC, et al.,

        Defendants - Appellants.
                       _________________________________

                                       ORDER
                          _________________________________

       These matters are before the court following review of the appellants’ docketing

 statements filed in each of the eight appeals. Defendants Cantex Health Care Centers II
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 and Farmington Health Care Center LTD Co. appeal the district court’s February 24,

 2023 consolidated order remanding the cases to the First Judicial District Court, County

 of Santa Fe, New Mexico, which is the state court from which the cases were removed.

 This court’s authority to review remand orders is substantially limited, however, and we

 believe that we may be without jurisdiction to review this particular order. Accordingly,

 we are considering these appeals for summary disposition. 10th Cir. R. 27.3(B).

        We direct the appellants to address the following issue in a single memorandum

 brief to be filed in all eight appeals: whether this court has jurisdiction to review the

 district court’s order remanding the cases to state court? 28 U.S.C. ' 1447(d) (“An order

 remanding a case to the State court from which it was removed is not reviewable on

 appeal or otherwise…”); Powerex Corp. v. Reliant Energy Svcs., Inc., 551 U.S. 224, 229

 (2007) (discussing same). The appellants’ memorandum brief shall be filed on or before

 April 24, 2023.

        Proceedings in these appeals, including briefing on the merits, are suspended

 pending further order of this court. See 10th Cir. R. 27.3(C).


                                                Entered for the Court
                                                CHRISTOPHER M. WOLPERT, Clerk


                                                by: Lara Smith
                                                    Counsel to the Clerk




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